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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                             Alexandria Division

 UNITED STATES OF AMERICA                   )
                                            )
 v.                                         )      Criminal No. 1:16CR143
                                            )
 Mohammed Jamal Khweis                      )
                                            )
               Defendant.                   )

                       DEFENDANT’S NOTICE OF APPEAL

        The defendant, by counsel, respectfully appeals to the United States Court of

 Appeals for the Fourth Circuit from the Judgment Order entered on October 27, 2017.

                                            Respectfully submitted,
                                            MOHAMAD KHWEIS
                                            By Counsel
                                                    /s/_______________
                                            Jessica N. Carmichael, Esq.
                                            Virginia Bar No. 78339
                                            HARRIS, CARMICHAEL, & ELLIS, PLLC
                                            1800 Diagonal Road, Suite 600
                                            Alexandria, Virginia 22314
                                            (703) 684-7908
                                            jcarmichael@harriscarmichael.com


                                                   __/s/_______________
                                            John K. Zwerling, Esq.
                                            Virginia Bar No. 8201
                                            ZWERLING/CITRONBERG, PLLC
                                            114 N. Alfred Street
                                            Alexandria, VA 22314
                                            703-684-8000
                                            703-684-9700 (F)
                                            jz@zwerling.com
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                              CERTIFICATE OF SERVICE

        I hereby certify, that on the November 9, 2017, I electronically filed the foregoing
  with the Clerk of the Court using the CM/ECF system, which will send a notification of
  such filing (NEF) to the following and all parties to this action:

  Dennis Fitzpatrick, Esq.
  United States Attorney's Office
  2100 Jamieson Ave
  Alexandria, VA 22314
  (703) 299-3700
  Email: dennis.fitzpatrick@usdoj.gov

  Raj Parekh, Esq.
  US Attorney's Office
  2100 Jamieson Avenue
  Alexandria, VA 22314
  703-299-3700
  Email: raj.parekh@usdoj.gov


                                                      ________/s/_____________
                                                      Jessica N. Carmichael, Esq.
